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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                        )
                                                )
                      Plaintiff,                )
                                                )
       v.                                       )     C.A. No. 22-1466 (MN)
                                                )
TESLA, INC.,                                    )
                                                )
                      Defendant.                )

             NOTICE OF THIRD-PARTY SUBPOENA FOR DOCUMENTS

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 45, the attached

subpoena (Exhibit 1) will be served by Defendant Tesla, Inc. on Google LLC.

                                                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 OF COUNSEL:
                                                    /s/ Cameron P. Clark
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 September 22, 2023
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                       EXHIBIT 1
         Case 1:22-cv-01466-MN Document 97 Filed 09/22/23 Page 3 of 11 PageID #: 10147
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
              AUTONOMOUS DEVICES, LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 22-1466 (MN)
                                                                              )
                           TESLA, INC.
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                  Google LLC, 1600 Amphitheatre Parkway Mountain View, CA 94043
To:                          c/o Corporation Service Company, 251 Little Falls Drive, Wilmington, DE 19808
                                                       (Name of person to whom this subpoena is directed)

    ✔
    u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Attachment A.

 Place:                                                                                 Date and Time:
           Weil, Gotshal & Manges, LLP, 201 Redwood Shores                                                   10/06/2023
           Parkway, Redwood Shores, CA 94065

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         09/22/2023

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Anish R. Desai
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Tesla, Inc.
                                                                        , who issues or requests this subpoena, are:

Anish R. Desai; Weil, Gotshal & Manges, 767 Fifth Ave., New York, NY 10153; anish.desai@weil.com; (212) 310-8730

                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 22-1466 (MN)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                         ATTACHMENT A

        Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Defendant Tesla, Inc.

requests that Google LLC produce the following documents and things to the Defendant’s

counsel, Weil, Gotshal & Manges LLP, 201 Redwood Shores Parkway, Redwood Shores, CA

94065, within fourteen (14) days of service hereof.

        The following definitions and instructions apply to the requests for production below and

should be considered as part of each such request for production.

                                           DEFINITIONS

        1.      “Google,” “You,” or “Your” means Google LLC, and each of its officers, directors,

members, managers, agents, consultants, contractors, employees, attorneys, accountants, partners,

corporate parents, subsidiaries, including DeepMind Technologies Limited and/or Google

DeepMind, affiliates, divisions, predecessors-in-interest, or successors-in-interest and any person

or entity, past or present, acting on its behalf.

        2.      “DeepMind Autonomous Technology” means any system, software, or model

developed by DeepMind Technologies Limited and/or Google DeepMind capable of autonomous

decision-making, including, AlphaGo.

        3.      “Autonomous Devices,” “AD,” or “Plaintiff” means Autonomous Devices, LLC,

and each of its officers, directors, members, managers, agents, consultants, contractors, employees,

attorneys, accountants, partners, corporate parents, subsidiaries, affiliates, divisions, predecessors-

in-interest, or successors-in-interest and any person or entity, past or present, acting on its behalf.

        4.      “Defendant” or “Tesla” means Tesla, Inc.

        5.      “Action” means the above-captioned civil action, Autonomous Devices, LLC, v.

Tesla, Inc., Case No. 22-1466 (MN) in the United States District Court for the District of Delaware.



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       6.      “Third Party” or “Third Parties” means any person or entity other than Tesla or

Autonomous Devices.

       7.      “Person” is defined as any natural person or any legal entity, including, without

limitation, any reference to any individual, corporation, proprietorship, association, joint venture,

company, partnership or other business or legal entity.

       8.      “Document” is defined to be synonymous in meaning and equal in scope to the

usage of the term “documents or electronically stored information” in Fed. R. Civ. P. 34(a)(1)(A)

and includes, without limitation, any written, printed, recorded, electronic, or graphic matter that

is or has been in Plaintiffs’ actual or constructive possession or control, regardless of the medium

on which it is produced, reproduced, or stored (whether on paper, cards, charts, files, or printouts;

tapes, discs, belts, video tapes, audiotapes, tape recordings, cassettes, or other types of voice

recording or transcription; computer tapes, databases, e-mails; pictures, photographs, slides, films,

microfilms, motion pictures; or any other medium), and any other tangible item or thing of

readable, recorded, or visual material of whatever nature, including, without limitation, originals,

drafts (sent or unsent), electronic documents with included metadata, and all non-identical copies

of each document (which, by reason of any variation, such as the presence or absence of hand-

written notes or underlining, represent a distinct version).

       9.      When referring to a person, “to identify” means to provide, to the extent known,

the person’s full name, present or last known address, and when referring to a natural person,

additionally, the present or last known place of employment. Once a person has been identified in

accordance with this subparagraph, only the name of that person need be listed in response to

subsequent discovery requesting the identification of that person.




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       10.     When referring to documents, “to identify” means to provide, to the extent known,

the document’s date of creation, bates number, storage location, and custodian, as well as the

nature of and a summary of the relevant information contained within the identified document.

       11.     “Communication” means the transmittal of information (in the form of facts, ideas,

inquiries or otherwise) between individuals or companies whether oral, written, electronic, in-

person, telephonically, directly, through an intermediary or otherwise.

       12.     “Date” means the exact day, month, and year, if ascertainable, or, if not, the best

approximation thereof.

       13.     “Including” means including without limitation.

       14.     “State” or “describe” means to set forth a complete and detailed statement of all

information (legal and factual), circumstances, events, date, persons and facts that refer to, relate

to, reflect, comprise, or bear upon the matter concerning which information is requested.

       15.     “Refer,” “relate,” “relating,” “respecting,” or “concerning” shall be construed in

the broadest sense to mean information (1) which contains or comprises any representations,

requests, demands, studies, or analyses referred to in these requests, or (2) information which

discusses, mentions, or refers, whether directly or indirectly, to the subject matter of the request.

       16.     The connectives “and” and “or” shall be construed either conjunctively or

disjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

       17.     The use of the singular form of any word includes the plural and vice versa.

       18.     The present tense includes the past and future tenses, and vice-versa.

                                         INSTRUCTIONS

       1.      In the event that any response is limited or documents called for by a request are


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withheld from disclosure on a claim of attorney-client privilege, attorney work product, or any

other privilege or immunity, identify: (a) the type of document (e.g., letter, memorandum, contract,

etc.); (b) its title; (c) its date; (d) its subject matter; (e) the name, address, and employer at the time

of preparation of the individual(s) who authored, drafted, or prepared it; (f) the name, address, and

employer at the time of dissemination of the individual(s) to whom it was directed, circulated, or

copied, or who had access thereto; and (g) the grounds on which the document is being withheld

(e.g., “attorney-client privilege,” “work product,” etc.).

        2.      State, for each request, whether or not any documents within the scope of the

request exist and whether any such documents are in your possession, custody, or control.

        3.      As to any portion of the requests that seek documents that were once in your

possession, custody, or control, but which are not now within or subject to you possession, custody,

or control, you are directed to identify such documents in a manner sufficient to describe such

documents for the purpose of preparing and serving a proper subpoena duces tecum, and to give

the name, telephone number, and address of the person last known by you to have been in

possession, custody, or control of such documents.

        4.      If any document, thing, or source of information that is identified in response to a

request has been destroyed or lost or is otherwise missing, state: (a) the date of such destruction or

loss; (b) the reason for such destruction or loss; (c) the identity of the person or persons who

destroyed or lost the document, thing, or source of information; and (d) the identity of the person

or persons who authorized such destruction.

        5.      You are required to respond to each request set forth below, regardless of whether

the information is possessed by Plaintiff or its respective predecessors, successors, parents,

affiliates, subsidiaries, present and former officers, directors, general partners, limited partners,

trustees, managers, employees, representatives, agents, sub-agents, distributors, attorneys,

attorneys-in-fact, accountants, investigators, advisors, consultants, or any other person acting or

purporting to act, exercising discretion, and/or making decisions on their behalf.

        6.      In the event that you object to any request on the ground that it is vague and/or

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ambiguous, identify the particular words, terms, or phrases that are asserted to make such request

vague and/or ambiguous and specify the meaning actually attributed to you by such words for

purposes of your response thereto.


                               REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION 1:

       Documents and Things sufficient to show all versions or variations of DeepMind

Autonomous Technology demonstrated to a member of the public prior to Dec. 19, 2016. See, e.g.,

Applications      of       Neural-Based     Agents        in       Computer     Game        Design,

https://www.deepmind.com/research/highlighted-research/alphago (“AlphaGo's 4-1 victory in

Seoul, South Korea, on March 2016 was watched by over 200 million people worldwide.”).

REQUEST FOR PRODUCTION 2:

       Documents and Things sufficient to describe the software and hardware used by DeepMind

Autonomous Technology to make autonomous decisions that was demonstrated to a member of

the public prior to Dec. 19, 2016.

REQUEST FOR PRODUCTION 3:

       Documents and Things sufficient to show when and where by DeepMind Autonomous

Technology was demonstrated to members of the public prior to Dec. 19, 2016.

REQUEST FOR PRODUCTION 4:

       Documents and Things sufficient to show the design, training, and functionality of artificial

intelligence models and/or neural networks used by DeepMind Autonomous Technology that was

demonstrated    to     a   member    of   the    public    prior    to   Dec.   19,    2016.   See,

e.g., https://www.deepmind.com/research/highlighted-research/alphago (“AlphaGo learnt the

game by playing thousands of matches with amateur and professional players”).


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 22, 2023, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

September 22, 2023, upon the following in the manner indicated:

 Karen E. Keller, Esquire                                                VIA ELECTRONIC MAIL
 Emily S. DiBenedetto, Esquire
 SHAW KELLER LLP
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 1105 North Market Street, 12th Floor
 Wilmington, DE 19801
 Attorneys for Plaintiff

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                                                    /s/ Cameron P. Clark

                                                    Cameron P. Clark (#6647)
